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 8                             UNITED STATES DISTRICT COURT

 9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

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                                                                               -,
11   UNITED STATES OF AMERICA,                  CR No. ~l~-~        ~~ ~         ri~~

12               Plaintiff,                     I N F O R M A T I O N

13               v.                             [18 U.S.C. ~~ 1960(a), (b)(1)(B)
                                                Operating an Unlicensed Money
14   THERESA TETLEY,                            Transmitting Business; 18 U.S.C.
       aka "Bitcoin Maven,"                     ~ 1956(a)(3)(B)  Laundering of
15                                              Monetary Instruments]
                 Defendant.
16

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18          The Acting United States Attorney charges:

19                                        COUNT ONE

20                         [18 U.S.C. ~~ 1960(a), (b)(1)(B)]

21          Beginning in or around January 2014, and continuing until on or

22   about March 22, 2017, in Los Angeles County, within the Central

23   District of California, and elsewhere, defendant THERESA TETLEY, also

24   known as "Bitcoin Maven," knowingly conducted, controlled, managed,

25   supervised, directed, and owned an unlicensed money transmitting

26   business affecting interstate and foreign commerce, namely, a digital

27   currency exchange business, that failed to comply with the money

28   ~~
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 1       transmitting business registration requirements under Section 5330 of

 2       Title 31, United States Code, and the regulations thereunder.

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 1                                         COUNT TWO

 2                              [18 U.S.C. ~ 1956(a)(3)(B)

 3           On or about January 26, 2017, in Los Angeles County, within the

 4   Central District of California, defendant THERESA TETLEY, also known

 5   as "Bitcoin Maven," with the intent to conceal and disguise the

 6   nature, location, source, ownership, and control of property believed

 7   to be the proceeds of specified unlawful activity, that is, the

 8   felonious importation, receiving, buying, selling, and otherwise

 9   dealing in controlled substances punishable under a law of the United

10   States ("drug trafficking"), knowingly conducted a financial

11   transaction, affecting interstate commerce, involving property

12   represented by an authorized agent of the United States government to

13   be proceeds of specified unlawful activity, that is, drug

14   trafficking, namely, the exchange of 80.35912976 Bitcoin for

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       Case 2:17-cr-00738-R Document 1 Filed 11/28/17 Page 4 of 4 Page ID #:4




 1   $69,958.00 in U.S. dollars, plus fees (Blockchain transaction ID

 2   8a3acec41dd41a9085b0856fd00a213a84fd64e261a298922089334723a2f033).

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 5                                           SANDRA. R. BROWN
                                             Acting United States Attorney
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 7                                                 /L~

 8                                           LAWRENCE S. MIDDLETON
                                             Assistant United States Attorney
 9                                           Chief, Criminal Division

10                                           KEVIN M. LALLY
                                             Assistant United States Attorney
11                                           Chief, Organized Crime Drug
                                                Enforcement Task Force Section
12
                                             CAROL A. CHEN
13                                           Assistant United States Attorney
                                             Deputy Chief, Organized Crime
14                                              Drug Enforcement Task Force
                                                Section
15
                                             PUNEET V. KAKKAR
16                                           Assistant United States Attorney
                                             Organized Crime Drug
17                                              Enforcement Task Force Section

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